          Case 1:18-cv-08865-AJN Document 49 Filed 10/03/19 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


UNITED STATES SECURITIES AND
EXCHANGE COMMISSION

               Plaintiff,

               v.                                      Civil Action No. 1:18-cv-8865-AJN-GWG

ELON MUSK,

               Defendant.




UNITED STATES SECURITIES AND
EXCHANGE COMMISSION

               Plaintiff,

               ►~~                                     Civil Action No. 1:18-cv-8947

TESLA, INC.,

               Defendant.


                            MOTION TO APPEAR PRO HAC VICE

       Pursuant to Rule 1.3 of the Local Rules of the United States District Courts for the

Southern and Eastern Districts of New York, Adriene Mixon hereby moves this Court for an

order for admission to practice pro hac vice to appear as counsel for the United States Securities

and Exchange Commission in the above-captioned action. Iam an active member in good

standing of the bar of the State of New York and an inactive member in good standing of the bar

of the State of California, and there are no pending disciplinary proceedings against me in any

state or federal court. Ihave never been convicted of a felony. Ihave never been censured,
          Case 1:18-cv-08865-AJN Document 49 Filed 10/03/19 Page 2 of 3



suspended, disbarred, or denied admission or readmission by any court. I have attached the

affidavit pursuant to Local Rule 1.3.

Dated: October 3, 2019                             Respectfully submitted,

                                                   /s/Adriene Mixon
                                                   Adriene Mixon
                                                   Assistant Chief Litigation Counsel
                                                   Office of Distributions
                                                   Division of Enforcement
                                                   U.S. Securities and Exchange Commission
                                                   444 Flower South Street, Suite 900
                                                   Los Angeles, California 90071
                                                   Tel:(202)551-4463
                                                   Email: MixonA(a~sec.gov
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                                  CERTIFICATE OF SERVICE

        I, Adriene Mixon, Counsel for The United States Securities and Exchange Commission,
certify, certify that on October 3, 3019, a true and correct copy ofPlaintiff's Motion for Adriene
Mixon to Appear Pro Hac Vice was served electronically. Notice of this filing will be sent by
operation ofthe Court's electronic filing system to all parties indicated on the electronic filing
receipt. Parties may access this filing through the Court's system.



                                                            /s/ Adriene Mixon
                                                            Adriene Mixon
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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


UNITED STATES SECURITIES AND
EXCHANGE COMMISSION

                Plaintiff,

                ►~                                     Civil Action No. 1:18-cv-8865-AJN-GWG

ELON MUSK,

                Defendant.



UNITED STATES SECURITIES AND
EXCHANGE COMMISSION

                Plaintiff,

                v.                                     Civil Action No. 1:18-cv-8947

TESLA, INC.,

                Defendant.


                              AFFIDAVIT OF ADRIENE MIXON

       I, Adriene Mixon, declare as follows:

       1.Iam an active member in good standing of the bar of the State of New York and an

inactive member in good standing of the bar of the State of California, and there are no pending

disciplinary proceedings against me in any state or federal court.

       2.Ihave never been convicted of a felony.

       3.Ihave never been censured, suspended, disbarred, or denied admission or readmission

by any court.

       4.Ido not have any disciplinary proceedings presently pending against me.
         Case 1:18-cv-08865-AJN Document 49-1 Filed 10/03/19 Page 2 of 2



       1 declare under penalty of perjury under the laws of the United States of America,

pursuant to 28 U.S.C. § 1746, that the foregoing is true and correct to the best of my knowledge,

information, and belief.

Dated: October 3, 2019                                     /s/ Adriene Mixon
                                                           Adriene Mixon
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            THE STATE BAR
            OF CALIFORNIA
            180 HOWARD STREET,SAN FRANCISCO,CALIFORNIA 94105-1617                   TELEPHONE:888-800-3400




                     CERTIFICATE OF STANDING


                                                            October 26, 2018




TO WHOM IT MAY CONCERN:

This is to certify that according to the records of the State Bar, ADRIENE MIXON, #199064
                                                                                                r
was admitted to the practice of law in this state by the Supreme Court of California on Decembe
1 1, 1998; that from the date of admission to May 2, 2003, she was an ACTIVE member of the
State Bar of California; that on May 2, 2003, she transferred at her request to the INACTIVE
status as of January 1, 2003; that she has been since that date, and is at date hereof, an
                                                                                                e
INACTIVE member of the State Bar of California; and that no recommendation for disciplin
                                                                                of  Trustees or a
for professional or other misconduct has ever been made by the Board
Disciplinary Board to the Supreme Court of the State of California.




                                         THE STATE BAR OF CALIFORNIA



                                         Denise Velasco
                                         Custodian of Membership Records



NOTE: Only ACTIVE members of the State Bar of California are entitled to practice law in
California. (See Sections 6006 and 6125, et seq., Business and Professions Code.)
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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


UNITED STATES SECURITIES AND
EXCHANGE COMMISSION

              Plaintiff,

              v.                                      Civil Action No. 1:18-cv-8865-AJN-GWG

ELON MUSK,

              Defendant.



UNITED STATES SECURITIES AND
EXCHANGE COMMISSION

              Plaintiff,

              v.                                      Civil Action No. 1:18-cv-8947

TESLA,INC.,

              Defendant.


                            ORDER TO APPEAR PRD HAC VICE

       The motion of Adriene Mixon, for admission to appear pro hac vice in the above-

captioned action is GRANTED.

       Applicant has declared that she is a member in good standing ofthe bars ofthe State of

New York and State of California and that her contact information is as follows:

                      Adriene Mixon
                      U.S. Securities and Exchange Commission
                      Office of Distributions
                      Division of Enforcement
                      444 South Flower Street, Suite 900
                      Los Angeles, California 90071
                      Tel:(202)551-4463
                      Email: MixonA@sec.gov
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       Applicant having requested admission pro hac vice to appear for all purposes as counsel

for the United States Securities and Exchange Commission in the above-captioned action;

       IT IS HEREBY ORDERED that Applicant is admitted to practice pro hac vice in the

above-captioned case in the United States District Court for the Southern District of New York.

All attorneys appearing before this Court are subject to the Local Rules ofthis Court, including

the Rules governing discipline of attorneys.




Date                                           United States District/Magistrate Judge
